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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


DELROY A. CHAMBERS, JR.,

                       Plaintiff,

v.                                                          Case No: 6:20-cv-1046-Orl-41GJK

PRIME PROPERTIES
INTERNATIONAL, LLC,

                       Defendant.
                                              /

                                              ORDER

       THIS CAUSE is before the Court on the Notice of Settlement (Doc. 14), wherein Plaintiff

has advised the Court that the above-styled action has been completely settled.

       Accordingly, pursuant to Local Rule 3.08(b) of the Middle District of Florida, it is

ORDERED and ADJUDGED that this cause is hereby DISMISSED with prejudice subject to

the right of any party, within sixty days from the date of this Order, to move the Court to enter a

stipulated form of final order or judgment, or, on good cause shown, to reopen the case for further

proceedings. The Clerk is directed to close this file.

       DONE and ORDERED in Orlando, Florida on July 20, 2020.




Copies furnished to:

Counsel of Record



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